                      Case: 25-1593
                      UNITED  STATES Document:
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                                               APPEALS  1   Date
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                                                                 THIRD 04/11/2025
                                                                        CIRCUIT

                                                      No. 25-1593

                           Atlas Data Privacy Corp., et al.   vs. Lighthouse List Company, LLC

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 Please listthe names of all parties represented, using additional sheet(s) if necessary:

 Lighthouse List Company, LLC
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                 ____ Appellant(s)               ____ Intervenor(s)

         ____ Respondent(s)                 ____ Appellee(s)                ____ Amicus Curiae

(Type or Print) Counsel’s Name Ronald   L. Davison
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SIGNATURE OF COUNSEL: /s/ Ronald L. Davison

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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
